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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 1:18-cr-293-RBJ

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 JOHN WU,

        Defendant.


                         REPLY TO GOVERNMENT’S RESPONSE


       John Wu hereby asserts that there is documentation of his medical conditions in the very

BOP documents that the Government attached to their Response.

       First, the BOP’s Chemistry, Hematology, and Hemoglobin test results verify Dr. Wu’s

assertion of type 2 diabetes. The Chemistry testing reported on May 28, 2020 indicates that Dr.

Wu’s glucose and ALT are “high.” See Exhibit A. Specifically, Dr. Wu’s glucose was measured

at 154 mg/dL. Id. The normal range is indicated to be 74-109, which Dr. Wu is well above. Id.

According to medical literature, when blood glucose level is too high it is because the body is not

properly using or making insulin. People with type 2 diabetes frequently do not produce enough

insulin. Additionally, Dr. Wu’s elevated ALT of 46 can be an indicator of Type 2 Diabetes. Cho,

Jang, Choi, Kim, Lee, Chan, Lim: Abnormal Liver Function Test Predicts Type 2 Diabetes.

Diabetes Care 2007. https://doi.org/10.2337/dc07-0106.

       Dr. Wu’s Chemistry testing related to his Triglycerides, HDL Cholesterol, Chol/HDL

Ratio, and CRP is also indicative of type 2 diabetes and coronary artery disease. Dr. Wu has low
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HDL Cholesterol, and high Triglycerides, Chol/HDL Ratio, and CRP. See Exhibit B. Dr. Wu’s

HDL Cholesterol is “low.” Type 2 diabetes is commonly accompanied by low level of high-

density lipoprotein cholesterol (HDL-C) that contributes to an increased cardiovascular risk

associated with this condition. Baxter, P: The Causes and Consequences of Low Levels of High-

Density Lipoproteins in Patients with Diabetes. Diabetes and Metabolism Journal 2011.

https://doi.org/10.4093/dmj.2011.35.2.101. Dr. Wu’s high CPR (c-reactive protein) result was

high. A high level of CRP in the blood is a marker of inflammation and is also predictive of

coronary artery disease. What Is a C-Reactive Protein Test? in WebMD.com.

       Dr. Wu’s Triglycerides are also high. Id. While the normal Triglyceride range is less than

150 mg/dL, Dr. Wu’s is 213. Having high triglycerides, a type of fat in the blood, may be a sign

that a person has prediabetes or type 2 diabetes. Triglycerides and Diabetes in Webmd.com. High

triglycerides do not cause diabetes, but instead indicate that one’s system for turning energy into

food is not working properly. Id. Dr. Wu’s cholesterol ratio (Chol/HDL Ratio) is also high. See

Exhibit B. In adults aged at least 40 years, the HDL cholesterol ratio is an independent risk factor

for developing type 2 diabetes independent of age, sex, and BMI, according to findings from

researches from China. Cholesterol Ratio May Predict Type 2 Diabetes Risk. Endocrine Today

February 21, 2108.

       Dr. Wu’s Hemoglobin A1C result is high and indicates that Dr. Wu’s is at an increased risk

for diabetes. See Exhibit C. Dr. Wu’s Hemoglobin A1C result is 6.3. Id. The cutoff for diabetes

is greater than 6.4. Id. This result indicates that Dr. Wu is borderline diabetic. While BOP Health

Services records indicate that Dr. Wu’s diabetes is “Denied,” that same record also indicates that

there is no history of asthma, despite the record being replete with documentation of Dr. Wu’s


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asthma and asthma medication. See Exhibit D. Dr. Wu re-asserts what he asserted in the PSIR

and in his declaration that he is a borderline type 2 diabetic. The Chemistry, Hematology and

Hemoglobin test results support Dr. Wu’s assertions.

       The Government does not dispute Dr. Wu’s asthma diagnosis. Dr. Wu asserts that the

documented changes to the asthma medication he is prescribed indicate that his asthma is moderate

to severe and not being well controlled with any medication. See Exhibit E. In October 2019, Dr.

Wu was prescribed Mometasone Furoate 220 mcg to take twice a day. Id. A new medication for

Albuterol Inhaler was ordered on April 30, 2020. Id. As his asthma did not improve, Dr. Wu’s

medication was changed from Mometasone Furoate to Beclomethasone HFA and his Albuterol

Inhaler was renewed. Still, with no improvement, on July 1, 2020, Dr. Wu’s prescription was

again changed back to Mometasone.

       Finally, Dr. Wu points to the three blood pressure test results contained in the BOP record

as verification of high blood pressure. See Exhibit F. His blood pressure values are as follows:

           •   5/12/2020 – 133/93
           •   2/3/2020 – 122/80
           •   10/29/2019 – 146/88

       With the exception of the February 3, 2020 result, which was elevated, the other two results

are considered High Blood Pressure/Hypertension by the American Heart Association.

       Dr. Wu’s combination of documented medical conditions places him at a high risk for

severe COVID-19 illness and even death. Dr. Wu renews his request for Compassionate Release

and asks the Court to grant him the relief requested in his Renewed Motion for Compassionate

Release (Doc. 175).




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       Respectfully submitted this 20th day of August, 2020.

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                                    CERTIFICATE OF SERVICE

         I hereby certify that on Thursday, August 20, 2020, I electronically filed the foregoing with
the Clerk of Court using the CM/ECF system, which will automatically send notification of such
filing to all opposing counsel of record.


                                                      s/ Dru Nielsen




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